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 9
                                  UNITED STATES DISTRICT COURT
10
                                   FOR THE DISTRICT OF IDAHO
11

12

13            MARIA FERNANDA ELOSU                             Case No.: 1:19-cv-267-DCN
     AND ROBERT LOUIS BRACE, Individuals,
14
                    Plaintiffs,
15   vs.
                                                         PLAINTIFFS’ REPLY IN SUPPORT OF
16
              MIDDLEFORK RANCH                         THEIR MOTION TO STRIKE ARGUMENTS
     INCORPORATED, an Idaho Corporation,                MADE FOR THE FIRST TIME ON REPLY
17

18                  Defendant.

19

20

21

22

23
            Plaintiffs submit this Reply in support of Their Motion to Strike Arguments Made for the
24
     First Time in Defendant’s November 20, 2020, Reply Memorandum (ECF No. 37) in support of
25

26   its October 23, 2020, Motion to Exclude Expert Testimony (ECF No. 35).

27

28
      PLAINTIFFS’ REPLY RE MOTION TO STRIKE                                HOLLYSTONE LAW
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              Case 1:19-cv-00267-DCN Document 41 Filed 12/28/20 Page 2 of 3



 1                                             ARGUMENT
 2
            The Plaintiffs’ position with regard to arguments made for the first time on reply is set
 3
     forth clearly in their Motion to Strike. The rule in this Court is that parties “cannot raise a new
 4
     issue for the first time in their reply brief,” unless the evidence responds directly to an issue
 5

 6   raised in the opposing party’s opposition. Calderon v. Experian Info. Sols., Inc., 290 F.R.D. 508,

 7   515 (D. Idaho 2013) (quoting State of Nev. v. Watkins, 914 F.2d 1545, 1560 (9th Cir. 1990)
 8
     (citations omitted)). Nothing in the Opposition by Defendant Middlefork Ranch, Inc.’s (“MFR”)
 9
     calls that rule into question, nor does the Opposition argue persuasively that MFR’s character
10
     arguments should be considered by this Court on a Daubert motion. Plaintiffs therefore rest their
11

12   argument on this Motion to Strike on their opening memorandum.

13                                            CONCLUSION
14
            For the reasons set forth above, and for those in their initial Memorandum in support of
15
     this Motion to Strike, Plaintiffs request that the Court strike pages 2 and 3 from ECF No. 37
16
     pursuant to Rule 12 of the Federal Rules of Civil Procedure.
17

18

19        Dated: December 28, 2020, by:                  /s Patrick C. Bageant
                                                         Patrick C. Bageant
20

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               Case 1:19-cv-00267-DCN Document 41 Filed 12/28/20 Page 3 of 3



 1                                    CERTIFICATE OF SERVICE
 2
            I certify that on the date below I caused the foregoing document to be filed electronically
 3
     with the Court’s CM/ECF system, which will cause it to be served upon all counsel of record
 4
     electronically.
 5

 6

 7         Dated: December 28, 2020, by:               /s Patrick C. Bageant
                                                       Patrick C. Bageant
 8

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      CERTIFICATE OF SERVICE                                                  HOLLYSTONE LAW
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